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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                       Criminal No. 15-86(2)(DSD/TNL)


United States of America,

                  Plaintiff,

v.                                                                ORDER

Ornella Angelina Hammerschmidt

                  Defendant.


     Michelle E. Jones, United States Attorney’s Office, 300 South
     4th Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     Jean M. Brandl, Esq. and Brandl Law, LLC, 310 Fourth Avenue
     South, Suite 5010, Minneapolis, MN 55415, counsel for
     defendant.


     This matter is before the court upon the motion by defendant

Ornella Angelina Hammerschmidt for modification of her sentence

under Rule 35 of the Federal Rules of Criminal Procedure. Based on

a review of the file, record, and proceedings herein, the motion is

denied.

     On November 17, 2016, the court sentenced defendant to 48

months’ imprisonment for making a false claim for refund, in

violation of 18 U.S.C. § 287.          The sentence reflects an upward

variance from the guidelines range of 24-30 months. The government

argued that an upward variance was appropriate, and the court

agreed    based   on    the   uncontested      findings    contained      in     the

presentence investigation report (PSR).           Defendant timely appealed

her sentence and soon after filed the instant motion, arguing that
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her sentence was erroneous because her counsel did not address all

of the arguments made by the government in support of its request

for an upward variance.

     Rule 35(a) provides that “[w]ithin 14 days after sentencing,

the court may correct a sentence that resulted from arithmetical,

technical, or other clear error.”      Fed. R. Crim. P. 35(a).        It does

not permit a court “to reconsider the application or interpretation

of the sentencing guidelines” or “simply to change its mind about

the appropriateness of the sentence.” United States v. Cannon, 719

F.3d 889, 891 (8th Cir. 2013) (internal quotations omitted) (citing

United States v. Sadler, 234 F.3d 368, 374 (8th Cir. 2000)).

Rather than point to the kind of error contemplated by Rule 35,

defendant’s motion is a belated attempt to more fully respond to

the government’s request for an upward variance.             In other words,

defendant contends that her counsel was ineffective at the time of

sentencing.     A Rule 35 motion is not the proper vehicle to assert

such a claim.    See United States v. Jett, 782 F.3d 1050, 1052 (8th

Cir. 2015) (“An ineffective assistance of counsel claim does not

fit in Rule 35(a)’s narrow scope.”).

     Accordingly, IT IS HEREBY ORDERED that the motion to modify

sentence [ECF No. 162] is denied.

Dated: December 21, 2016

                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court


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